           Case 3:11-cv-01118-VLB Document 1 Filed 07/15/11 Page 1 of 5



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                            :
Mark Palmer,                                :
                                              Civil Action No.: ______
                                            :
                     Plaintiff,             :
      v.                                    :
                                            :
                                              COMPLAINT
Century Financial Services, Inc.; and       :
DOES 1-10, inclusive,                       :
                                            :
                                              July 15, 2011
                     Defendants.            :
                                            :


      For this Complaint, the Plaintiff, Mark Palmer, by undersigned counsel,

states as follows:


                                    JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiff’s personal privacy by the Defendants and their agents in

their illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.


                                       PARTIES

      4.      The Plaintiff, Mark Palmer (“Plaintiff”), is an adult individual residing

in Stamford, Connecticut, and is a “consumer” as the term is defined by 15 U.S.C.

§ 1692a(3).
           Case 3:11-cv-01118-VLB Document 1 Filed 07/15/11 Page 2 of 5



      5.       Defendant Century Financial Services, Inc. (“Century”), is a

Connecticut business entity with an address of 23 Maiden Lane, North Haven,

Connecticut 06473, operating as a collection agency, and is a “debt collector” as

the term is defined by 15 U.S.C. § 1692a(6).

      6.       Does 1-10 (the “Collectors”) are individual collectors employed by

Century and whose identities are currently unknown to the Plaintiff. One or more

of the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.       Century at all times acted by and through one or more of the

Collectors.


                    ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


      8.       The Plaintiff incurred a financial obligation in the approximate

amount of $58.81 (the “Debt”) to Advanced Radiology Consultants (the

“Creditor”).

      9.       The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

      10.      The Debt was purchased, assigned or transferred to Century for

collection, or Century was employed by the Creditor to collect the Debt.

      11.      The Defendants attempted to collect the Debt and, as such, engaged

in “communications” as defined in 15 U.S.C. § 1692a(2).



                                           2
            Case 3:11-cv-01118-VLB Document 1 Filed 07/15/11 Page 3 of 5



   B. Century Engages in Harassment and Abusive Tactics


       12.     On June 22, 2011 Defendants sent Plaintiff a 30-Day validation

notice.

       13.     Plaintiff requested that Defendants provide Debt verification by

means of a dispute letter, which was received by Defendants on July 5, 2011.

       14.     Defendants failed to provide such verification and, instead, sent

Plaintiff another collection notice.


   C. Plaintiff Suffered Actual Damages


       15.     The Plaintiff has suffered and continues to suffer actual damages as

a result of the Defendants’ unlawful conduct.

       16.     As a direct consequence of the Defendants’ acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,

anxiety, emotional distress, fear, frustration and embarrassment.


                                       COUNT I

                 VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       17.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

       18.     The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that

Defendants continued collection efforts even though the Debt had not been

verified.

       19.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the

                                           3
         Case 3:11-cv-01118-VLB Document 1 Filed 07/15/11 Page 4 of 5



above-cited provisions.

      20.     The Plaintiff is entitled to damages as a result of Defendants'

violations.


                                      COUNT II

     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      21.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      22.     The Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

      23.     The Defendants engaged in unfair and deceptive acts and practices

in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      24.     The Plaintiff is entitled to damages as a result of the Defendants’

violations.


                                PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                    Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                    §1692k(a)(2)(A) against the Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                    U.S.C. § 1692k(a)(3) against the Defendants;


                                          4
        Case 3:11-cv-01118-VLB Document 1 Filed 07/15/11 Page 5 of 5



               4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

               5. Actual damages from the Defendants for the all damages

                  including emotional distress suffered as a result of the

                  intentional, reckless, and/or negligent FDCPA violations and

                  intentional, reckless, and/or negligent invasions of privacy in an

                  amount to be determined at trial for the Plaintiff;

               6. Punitive damages; and

               7. Such other and further relief as may be just and proper.

                  TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: July 15, 2011

                                      Respectfully submitted,

                                      By __/s/ Sergei Lemberg

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                                         5
